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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

------------------------------------x                     CIVIL ACTION NO.:
POPTECH, L.P., individually, and on behalf of a :
class of others similarly situated, et al.,     :         3:10-CV-00967 (MRK)
                                                :
                                Plaintiffs,     :
                                                :
        vs.                                     :
                                                :
                                                :
                                                :         February 14, 2011
STEWARDSHIP CREDIT ARBITRAGE FUND,
                                                :
LLC, et al.,
                                                :
                                Defendants.
                                                :
------------------------------------X

     DEFENDANT ACORN CAPITAL GROUP, LLC’S MOTION TO DISMISS THE
                 AMENDED CLASS ACTION COMPLAINT

        Pursuant to Fed. R. Civ. P. 9(b), 12(b)(1), 12(b)(6), and the Private Securities Litigation

Reform Act of 1995 (“PSLRA”), defendant ACORN CAPITAL GROUP, LLC (“Acorn”) hereby

moves to dismiss Counts I, II, III, and IV of the Amended Class Action Complaint dated

December 13, 2010 (“Complaint”). The reasons in support of this motion are: (1) the plaintiffs

lack standing to assert the purported direct claims against the defendants in Counts I, II, III, and

IV of the Complaint because these claims are derivative on behalf of Stewardship Credit

Arbitrage Fund, LLC; (2) Count I of the Complaint fails to meet the enhanced pleading standards

of Rule 9(b) and the PSLRA in that it fails to plead loss causation, reliance, fraud, or scienter

with the required specificity, (3) because Count I fails to state a claim upon which relief can be

granted under Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”), it follows

that the plaintiffs have failed to state a claim upon which relief can be granted under Section

20(a) of the Exchange Act in Count II; and (4) there is no basis for the exercise of supplemental

jurisdiction over the state law claims in Counts III and IV. As explained in the accompanying

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             Case 3:10-cv-00967-SRU Document 65 Filed 02/14/11 Page 2 of 3




Memorandum in Support of Acorn Capital Group, LLC’s Motion to Dismiss the Class Action

Complaint, Acorn incorporates by reference and adopts the law and arguments of codefendants

Marlon Quan and Stewardship Investment Advisors, LLC, as well as the other defendants, in

support of this motion.

        Accordingly, Acorn respectfully requests that this motion be GRANTED and Counts I,

II, III, and IV of the Complaint be DISMISSED.



                                                   DEFENDANT,
                                                   ACORN CAPITAL GROUP, LLC

                                           By:     /s/ Patrick J. Monahan II
                                                   Patrick J. Monahan II [ct 06727]
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                                                   pmonahan@garfunkelwild.com




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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

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STEWARDSHIP CREDIT ARBITRAGE FUND,
                                                :
LLC, et al.,
                                                :
                                Defendants.
                                                :
------------------------------------X

                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2011, a copy of the foregoing Defendant Acorn
Capital Group, LLC’s Motion to Dismiss the Amended Class Action Complaint was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access the filing through the Court’s CM/ECF System.

                                                       /s/ Patrick J. Monahan II
                                                       Patrick J. Monahan II




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